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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

 BRIAN MANETTA, SERGIO PEREIRA,                       Civil Action No.
 ESTHER SYGAL-PEREIRA, MATTHEW                        2:20-cv-07712-SDW-LDW
 MARKOSIAN, NAIMISH BAXI, HARVEY
 MINANO, SYDNEY PECK, MAHMUD                          DEFENDANTS’ REPLY IN
 IBRAHIM, and GEORGE AMORES,                          SUPPORT OF MOTION
 individually and on behalf of all others similarly   TO DISMISS OR, IN THE
 situated,                                            ALTERNATIVE, TO
                                                      STRIKE CLASS AND
 Plaintiffs,                                          OTHER ALLEGATIONS

 v.

 NAVIENT CORPORATION, NAVIENT
 SOLUTIONS, LLC f/k/a NAVIENT
 SOLUTIONS, INC. f/k/a SALLIE MAE, INC.,
 and SLM CORPORATION,

 Defendants
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 I.      INTRODUCTION

         In the Opposition, Plaintiffs state that NSL “cannot credibly claim that the

 extremely detailed Complaint does not allege actionable claims[.]” 1 (Opp. at p. 1.)

 However, length does not equal substance or, more importantly, the “sufficient

 factual” allegations necessary to state claims for relief that are “plausible on [their]

 face.” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (emphasis added) (quoting

 Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)) (“A claim has facial

 plausibility when the plaintiff pleads factual content that allows the court to draw

 the reasonable inference that the defendant is liable for the misconduct alleged.”)

         Here, notwithstanding the many pages devoted to the Complaint (66) and

 now the Opposition (30), Plaintiffs have not pled that factual content – i.e., how or

 on what basis NSL engaged in any improper servicing of their loans. If Plaintiffs

 had viable claims, this should be straightforward – for instance, an allegation that

 NSL breached a provision of the governing promissory note or made a specific

 misrepresentation. But Plaintiffs merely provide “examples” of interest

 capitalizations or payment allocations (some of which date back to 2007, outside

 the applicable statute of limitations), without explaining why such transactions

 supposedly were improper. While Plaintiffs argue that these “examples” fulfill the

 pleading requirements, (Opp. at p. 12), they do not. The “examples” do not


 1
     Unless stated otherwise, terms are used herein as defined in the Motion.

                                            1
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 demonstrate “how” NSL misallocated payments or misapplied capitalized interest.

 They are unexamined conclusions “that” NSL did so.

       Indeed, there are significant flaws in Plaintiffs’ theory of liability. Plaintiffs

 hardly acknowledge the terms of the Promissory Notes or the regulations

 promulgated under the HEA, which govern the servicing of the loans at issue.

 Plaintiffs simply purport not to “understand … whether the [payment amounts]

 charged by [NSL] [were] accurate.” (Opp. at p. 7 (asserting that, on at least one

 occasion, it was somehow “impossible for a borrower to know if the charge was

 proper.”)) Meanwhile, Plaintiffs repeatedly characterize capitalizations as

 “random” or “irregular” and payment allocations as “disproportionate[]” and

 “unexplainable,” such that their loans have “barely been reduced from their

 original loan amounts” (Opp. at pp. 2-5 and 8.) Yet the Promissory Notes make

 clear that capitalization occurs under various, distinct circumstances and that,

 unless otherwise directed by the borrower, payments will be allocated pursuant to

 the HEA.

       In sum, determining whether a complaint states a plausible claim for relief is

 “a context-specific task that requires the reviewing court to draw on its judicial

 experience and common sense” and, in addressing the sufficiency of a complaint,

 conclusory allegations or legal conclusions couched as factual allegations “are not

 entitled to the assumption of truth.” Ashcroft, 556 U.S. at 678-80. Here, because



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 the “pleaded facts do not permit the court to infer more than the mere possibility of

 misconduct, [Plaintiffs fail to] show [they are] entitled to relief,” and the Court

 should dismiss the instant claims. Ashcroft, 129 S. Ct. at 1949-50 (quoting Rule

 8(a)(2)).

       Alternatively, the Court should strike Plaintiffs’ class allegations and other

 allegations unrelated to the claims asserted in the Complaint. Plaintiffs emphasize

 in the Opposition that motions to strike class allegations are not often granted. NSL

 agrees, but this is one of the rare instances where a pleading, on its face, clearly

 fails to meet Rule 23’s requirements.

       As explained in the Motion, Plaintiffs propose a class defined as: “All

 individuals in the United States and its territories who have ever had any loans

 with [NSL] and/or had any loans (private or federal) serviced by [NSL] at any

 time.” (Complaint at ¶ 205.) By Plaintiffs’ own admission, this definition would

 cover “millions” of borrowers, including an overwhelming majority with no

 alleged servicing issue on their student loans. (Id. at ¶ 212.) In connection with a

 certification request, and starting with a population of every student loan borrower

 serviced by NSL over an unspecified time period (but presumably at least ten

 years, given Plaintiffs’ allegations), the Court would have to undertake a vast and

 excruciatingly fact-intensive analysis of NSL’s servicing of these borrowers’ loans.

 Based on Plaintiffs’ own description, their claims arise from numerous, alleged



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 issues: “repeated and continuous misrepresentations and/or omissions” including

 “misallocating payments disproportionately to interest,” “charging inflated

 minimum monthly payments and applying the excess payment to interest only,”

 “applying single loan payments across multiple loans,” “capitalizing interest at

 irregular frequencies and improper times,” “employing [an] antiquated, confusing,

 and misleading online payment system” and “billing statements” to “prevent

 Plaintiffs from being able to understand their loan payments,” “[r]efusing to

 release cosigners,” “[r]efusing to provide accurate historical transactional

 information,” and “[f]ailing to provide Plaintiffs with a clear, reliable and

 consistent way to apply” their payments. (Opp. at pp. 8-9.) The impropriety under

 Rule 23 of evaluating millions of loan accounts for such highly individualized facts

 is obvious. Accordingly, the Court should strike the class allegations (along with

 the further inappropriate allegations having no connection to Plaintiffs’ loans and

 those intended to disparage NSL).

 II.   ARGUMENT

       A.    Plaintiffs Fail To State Any Claim.

       In the Opposition, Plaintiffs argue the existence of a “fraudulent scheme” by

 NSL to “inflate[] interest and [otherwise] thwart[] repayment of principal[.]” (Opp.

 at p. 2.) Based on this alleged scheme, Plaintiffs bring claims for fraud, violation

 of the NJCFA, DCFA, FDUTPA and NY GBL and breach of fiduciary duty. (Opp.



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 at pp. 1, 9 and 12). However, these claims suffer from overall, fundamental

 defects.

       As an initial matter, Plaintiffs contend that NSL somehow engaged in

 fraudulent conduct when servicing their loans, notwithstanding the clear terms of

 the Promissory Notes. (Opp. at p. 12, n.1). Plaintiffs argue that “[t]he fact that the

 [P]romissory [N]otes permit [NSL] to allocate payments or capitalized interest

 does not, in and of itself, provide Defendants carte blanche to do so improperly

 and with impunity[.]” (Id.) But this completely misses the point -- Plaintiffs bear

 the burden to show that some conduct forming the basis of their claims was

 improper. Plaintiffs have not carried that burden, particularly in light of the

 Promissory Notes. Instead, Plaintiffs aver that capitalization was “fraudulent”

 because it was “unexpected” or “unexplainable,” but nothing more. (Opp. at p.

 13.) Likewise, Plaintiffs allege that NSL violated their payment instructions, yet

 never identify how or when NSL failed to follow such instructions. 2

       Moreover, Plaintiffs do not consider the complex regulatory scheme under

 the HEA that governs the servicing of federally owned or guaranteed student loans.

 Detailed and extensive regulations have been promulgated prescribing every aspect

 of federal student loan servicing, including interest and capitalization (34 C.F.R. §

 2
   Plaintiffs allege that NSL allows for the submission of “extra payments, but then
 fails to honor them despite the borrower’s diligent adherence to those instructions.”
 (Compl. at ¶¶ 163-64). Yet Plaintiffs do not allege a single instance in which this
 actually occurred.

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 685.202 and §§ 685.204-205), and repayment provisions, including payment

 application and the handling of prepayments or overpayments (§ 685.211).

       Plaintiffs do not deny the applicability of, and do not allege that NSL failed

 to comply with, these regulations. Instead, Plaintiffs purport to invoke common

 law and state consumer protection statutes to challenge NSL’s servicing of their

 loans. As set forth in the Motion, the HEA prohibits Plaintiffs from using state law

 to vary servicing requirements or to impose new or additional requirements on

 servicers. In their Opposition, Plaintiffs deny undertaking this effort (although the

 effort is clear) and accuse NSL of “ignoring” Pennsylvania v. Navient Corp., 967

 F.3d 273, 287 (3d Cir. 2020), in which the Third Circuit analyzed preemption

 under the HEA. (Opp. at pp. 19-20 and n. 5.) Plaintiffs are wrong; NSL actually

 cited the decision. (See Motion, p. 19). But, again, Plaintiffs must allege that the

 conduct underlying the claims somehow is unlawful, which they have not done,

 and cannot do, in light of the HEA regulations.

       In addition to these fatal defects, which permeate the Complaint, each of

 Plaintiffs’ claims fails. On the fraud claims, Plaintiffs must allege that NSL made a

 “material   misrepresentation    and/or       omission   of   fact[,]   knowing   the

 misrepresentation to be false or the omission to be material,” and “intending

 [Plaintiffs] to rely on it […] to [their] detriment. (Opp. at pp. 9-10.) However,

 Plaintiffs do not identify a single misrepresentation or omission, much less



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 materiality, reliance and harm (and obviously not with the specificity required by

 Rule 9(b)). Similarly, on the consumer protection claims, Plaintiffs must allege at

 least some type of unlawful conduct, deception or fraud, which they fail to do. For

 instance, Plaintiffs argue that NSL unlawfully and “unilaterally allocate[d]”

 payments (Opp. at p. 3), but this is a conclusion, not a factual allegation of

 misrepresentation or deception. Likewise, Plaintiffs reference six “examples” of

 capitalized interest, which they criticize as “abnormal” based on the timing. (Opp.

 at pp. 4-5.) But Plaintiffs do not identify supposedly “normal” timing or any

 misrepresentation by NSL regarding those capitalizations, nor could they. The

 Promissory Notes explain that capitalizations might occur at different times,

 depending on different circumstances, and pursuant to the HEA. (Motion, Exhibit

 2 at pp. 2 and 5 (“If I fail to make required payments of interest before the

 beginning or resumption of principal repayment, or during a period of deferment or

 forbearance, I agree that the lender may capitalize such interest as provided under

 the [HEA].”); pp. 20, 30, 46 and 60 (stating “my lender may capitalize that interest

 as provided under the [HEA]” and “[t]he principal balance of my loan(s) will

 increase each time my lender capitalizes unpaid interest.”) Otherwise, Plaintiffs

 simply take issue with NSL’s servicing process, which does nothing to support

 claims for fraud or violation of consumer protection statutes. (See, e.g., Opp. at pp.

 6-7, 11 and 13 (stating that “bogus” “customer service representatives do not have



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 access to the Promissory Notes,” NSL’s website should allow for messaging

 “chain[s]), and monthly statements could include more detail”).

       Meanwhile, the breach of fiduciary duty claim also fails. The essential basis

 of the claim is the existence of a fiduciary relationship. See Jurista v. Amerinox

 Processing, Inc., 492 B.R. 707, 759 (D.N.J. 2013). Plaintiffs rely on NSL’s online

 statements describing its student loan servicing capabilities in an effort to invoke

 the very narrow exception to the well-settled rule that loan servicers are not

 fiduciaries to borrowers. (See Opp. at p. 17.) However, numerous courts have held

 that, as a matter of law, statements made on a website and disseminated to

 borrowers across the country cannot establish a fiduciary relationship. See, e.g.,

 Hyland v. Navient Corp., No. 1:18-cv-09031, 2019 U.S. Dist. LEXIS 113038, *30

 (S.D.N.Y. July 8, 2019); Barron Partners, LP v. Lab123, Inc., 593 F. Supp. 2d

 667, 671 (S.D.N.Y. 2009); In re Merck & Co., Sec. Derivative & Erisa Litig., C.A.

 No. 05-2369 (SRC), 2006 WL 2050577, at *13-14 (D.N.J. July 11, 2006). The

 decisions cited by Plaintiffs to the contrary are inapposite. See Capital Bank v.

 MVB, 644 So. 2d 515, 520 (Fla. 3rd DCA 1994) (finding a fiduciary relationship

 between a bank and its customer because “[the bank’s employee] expressly invited

 [plaintiff’s] reliance by urging [plaintiff] to trust [the employee] and by reassuring

 [plaintiff] that [plaintiff] was part of the Capital Bank family,” the bank “fostered

 [plaintiff’s] perception that the bank was his financial advisor, by repeating that the



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 bank’s plans would benefit his business” and “the bank clearly knew of

 [plaintiff’s] reliance”); United Jersey Bank v. Kensey, 306 N.J. Super. 540, 557

 (Sup. Ct. App. 1997) (no special circumstances existed that created a fiduciary

 duty between the lender and the plaintiff-borrower and distinguishing Capital Bank

 and other decisions as “extreme cases” that did not reflect the relationship that the

 law understands to exist between borrower and lender). 3

       Plaintiffs further argue that the Court cannot determine whether a special

 relationship has been alleged at the motion to dismiss stage, but that is not so.

 Courts have the authority to evaluate a plaintiff’s allegations regarding a special

 relationship on a motion to dismiss. See, e.g., EPEC Polymers, Inc. v. NL Indus.,

 No. 12-cv-3842, 2013 U.S. Dist. LEXIS 74642, *39 (D.N.J. May 24, 2013)

 (finding special relationship did not exist on facts alleged and granting motion to

 dismiss); Holborn Corp. v. Sawgrass Mut. Ins. Co., 304 F. Supp. 3d 392, 404

 (S.D.N.Y. 2018); Hyland, 2019 U.S. Dist. LEXIS 113038, *30 (same).

       Accordingly, Plaintiffs fail to state any claim. Plaintiffs have submitted a

 very lengthy – in Plaintiffs’ words, “extremely detailed” – Complaint. However, it

 is devoid of factual allegations of supposed wrongful conduct by NSL sufficient to


 3
   In fact, the court noted: “These cases all involved egregious breaches of the
 lender’s duty of good faith and fair dealing. In each of these cases, the bank
 actively encouraged the plaintiff to rely upon its advice and concealed its self-
 interest in promoting the transaction involved. In blunt terms, the banks acted no
 better than common swindlers.” Kensey, 306 N.J. Super. at 557.

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 meet the Ashcroft standard. See In re Westinghouse Sec. Litig., 90 F.3d 696, 703

 (3rd Cir. 1996) (affirming dismissal of complaint as “unnecessarily complicated

 and verbose”); Mann v. Boatright, 477 F.3d 1140, 1148 (10th Cir. 2007) (affirming

 dismissal when it was impossible to “separate the wheat from the chaff”; “[i]t was

 not the district court’s job to stitch together cognizable claims for relief from the

 wholly deficient pleading”); Knit With v. Knitting Fever, Inc., 625 Fed. Appx. 27,

 37 (3rd Cir. 2015) (finding that district court properly “declined to make the

 untenable leap that [d]efendant” was liable based on plaintiff’s allegations).

       B.     In The Alternative, The Court Should Strike Allegations.

              1.     On Its Face, The Complaint Demonstrates That No Class
                     Could Be Certified.

       In the Opposition, Plaintiffs note that a motion to strike class allegations

 should be granted only in rare circumstances. (Opp. at p. 21.) NSL agrees. A

 motion to strike is a “drastic remedy,” which should be used “sparingly,” but the

 Complaint here clearly is deserving. McPeak v. S-L Distrib. Co., No. 12-cv-348,

 2014 U.S. Dist. LEXIS 123728, *8 (D.N.J. Sep. 5, 2014).

       Very simply, on its face, the Complaint fails the requirements of

 predominance and commonality, and Plaintiffs cannot overcome this fatal flaw.

 While Plaintiffs flatly state that there are “common issues in this case arising out of

 Defendants’ conduct” (Opp. at p. 28.), that is not enough. See, e.g., McCoy v.

 Health Net, Inc., 569 F. Supp. 2d 448, 455 (D.N.J. 2008) (“Predominance,


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 however, requires more than the existence of common issues of law and fact. The

 common issues must be numerically and qualitatively substantial in relation to

 individual issues.”)

       Indeed, as even Plaintiffs concede, the proposed class would consist of

 millions of borrowers, as follows: (a) all individuals in the United States and its

 territories who have ever had any loans with NSL; and (b) all individuals in the

 United States and its territories who have ever had any loans—whether private or

 federal—serviced by NSL at any time. (Motion, p. 27.) On a request for class

 certification, the Court therefore would have to undertake a vast and complex

 inquiry into individualized facts, such as: (1) whether a loan is private (and, thus,

 subject to arbitration) or federally owned or guaranteed (where the HEA servicing

 regulations apply); (2) the terms of the applicable promissory notes; and (3) in

 reference to the HEA regulations and the promissory notes, a review of every

 payment for “misapplication” of amounts to interest, every pre-payment across

 multiple loans for “misapplication”, and every instance of capitalization with the

 attendant pre-conditions (e.g., deferment or forbearance). Further, many of the

 issues alleged by Plaintiffs occurred over a decade ago. Plaintiffs must then

 explain, for each issue, why the statutes of limitation do not bar the claims,

 assuming that doctrines of tolling apply.




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       All of this shows that Plaintiffs have pled an insurmountable obstacle to

 class certification. Based on the face of the Complaint, the Court can, and should,

 strike the class allegations. See Martinez v. Equifax Inc., 15-cv-2100, 2016 U.S.

 Dist. LEXIS 5859, *12 (D.N.J. Jan. 19, 2016) (“It is clear at this early stage of the

 litigation, as a matter of law, that this [c]ourt would never grant a motion for class

 certification involving this class definition. The class action allegations in the

 [c]omplaint will be struck.”)

              2.    The Unrelated Loan Servicing Allegations Should Be
                    Stricken.

       Plaintiffs spend a significant portion of the Opposition discussing untethered

 instances of “deceptive and improper servicing.” (Opp. at p. 30.) For instance,

 Plaintiffs raise allegations relating to the Upromise loyalty program, NSL’s

 customer service phone system and the alleged promotion of the use of co-signers

 on student loans. None of these has anything to do with the premise underlying

 Plaintiffs’ claims – i.e., payment misallocation and improper capitalization.

 Further, and notably, Plaintiffs do not allege that they suffered harm from, and do

 not seek any claim based on, any of these instances of supposed servicing

 misconduct. Simply put, these extraneous allegations have no bearing, link, or

 possible relation to the claims at hand, and should be stricken. See Giles v. Phelan,

 Hallinan & Schmieg, L.L.P., 901 F. Supp. 2d 509, 529 (D.N.J. 2012) (granting

 motion to strike because plaintiff’s complaint was “unnecessarily and confusingly


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 prolix and contains irrelevant material which frustrates the ability to adjudicate the

 … claim”).

              3.    The Allegations Regarding The Unrelated Legal Actions
                    Against NSL Are Irrelevant And Admittedly Intended To
                    Prejudice NSL.

       Plaintiffs’ attempt to cast NSL in a negative light through unrelated,

 distinguishable and irrelevant allegations in previous actions is also improper. In

 fact, by asking the Court to view NSL as a “particularly bad actor in the student

 loan servicing space” (Complaint at ¶¶ 35-36), Plaintiffs readily admit their

 objective – to prejudice NSL.

       In the Opposition, Plaintiffs argue that these allegations are appropriate for

 purposes of establishing “motive and intent,” (Opp. at p. 30), but this contention

 fails. NSL found no authority supporting the use of Federal Rule of Evidence 404

 to overcome a motion to strike, and Plaintiffs offer none. Because Plaintiffs’

 allegations from prior lawsuits involving NSL provide no value in evaluating the

 instant claims, and are intended to prejudice NSL, they should be stricken. See

 Everage v. Ford Motor Co., No. 04-cv-549, 2005 U.S. Dist. LEXIS 49715, at *15

 (E.D. Ky. Sep. 14, 2005) (harassing and improper allegations should be stricken).




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 III.   CONCLUSION

        For the foregoing reasons, the Court should dismiss the Complaint with

 prejudice or, in the alternative, strike the class allegations and the other improper

 allegations in the Complaint without leave to amend.

 Dated: May 20, 2021                        GREENBERG TRAURIG, LLP


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